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                                                                                     E-FILED
                                                      Tuesday, 20 October, 2020 11:11:27 AM
                                                                Clerk, U.S. District Court, ILCD

           IN THE UNITED STATES DISTRICT COURT
 FOR THE CENTRAL DISTRICT OF ILLINOIS, SPRINGFIELD DIVISION

UNITED STATES OF AMERICA, )
                          )
         Plaintiff,       )
                          )
     v.                   )               No. 20-cr-30036
                          )
WILLIAM McDONNELL,        )
                          )
         Defendant.       )

                                  OPINION

TOM SCHANZLE-HASKINS, U.S. MAGISTRATE JUDGE:

      This matter comes before the Court on Defendant William

McDonnell’s Motion to Possess Electronic Discovery (d/e 16) (Motion).

Defendant’s Motion is ALLOWED. For the reasons set forth in Defendant’s

Motion, the Court finds good cause to allow Defendant to review pretrial

discovery electronically while in a correctional facility. See Local Rule

16.2(D).

      Defendant shall be afforded electronic access to pretrial discovery in

this cause pursuant to the procedures attached to Defendant’s Motion:

Rules Governing Use of Electronic Storage Media to View Legal Materials,

Inmate Discovery Receipt, Electronic Discovery Viewing Log, Discovery

Material Authorization Form, and Detainee Laptop Issuance Procedures.



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      Defendant’s electronic access to pre-trial discovery in this cause is

expressly conditioned on: (1) the ongoing compliance at all times by

Defendant with the policies and procedures previously agreed upon by the

United States Attorney’s Office and the Federal Public Defender’s Office;

and (2) the ongoing willingness of the correctional institution to afford

Defendant electronic access to the pre-trial discovery pursuant to the

policies and procedures previously agreed upon by the United States

Attorney’s Office and the Federal Public Defender’s Office. The parties

further agree that Defendant’s access to discovery can be terminated by

either party upon notice to the other, without cause or leave of Court.

      This order shall modify only the application of Local Rule 16.2(B)(3)

and (4) to this cause. All other provisions of Local Rule 16.2 remain

applicable.

      THEREFORE, IT IS ORDERED THAT Defendant William

McDonnell’s Motion to Possess Electronic Discovery (d/e 16) is ALLOWED.

ENTER: October 20, 2020.



                            s/ Tom Schanzle-Haskins
                        UNITED STATES MAGISTRATE JUDGE




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